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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Crista E Noel
                               Plaintiff,
v.                                                     Case No.: 1:10−cv−08188
                                                       Honorable Sara L. Ellis
Bruno Coltri, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 15, 2018:


         MINUTE entry before the Honorable Sara L. Ellis: Status hearing held and
continued to 9/5/2018 at 9:30 a.m. to report on settlement and clarity of representation of
SAP attorney. Plaintiff advised the Court that she is still interested in settlement and is
talking with SAP attorney to determine if he will continue to represent the Plaintiff. In the
event the parties are unable to reach a resolution by the next status hearing, the Court will
set a trial date. Mailed notice (mw, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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